         Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 1 of 10



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                         )
COMMITTEE ON WAYS AND                    )
MEANS, UNITED STATES HOUSE               )
 OF REPRESENTATIVES,                     )
                                         )
            Plaintiff,                   )
                                         )
                       v.                )
                                         ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                )
OF THE TREASURY, et al.                  )
                                         )
           Defendants,                   )
                                         )
DONALD J. TRUMP, et al.,                 )
                                         )
           Defendant-Intervenors.        )
                                         )

                   DEFENDANTS’ AND DEFENDANT-INTERVENORS’
                         SUPPLEMENTAL MEMORANDUM

       Defendants and Defendant-Intervenors respectfully submit this memorandum in response

to the Court’s October 15, 2019, Order inviting the parties to file supplemental briefing concerning

the D.C. Circuit’s recent decision in Trump v. Mazars USA, LLP, No. 19-5142, 2019 WL 5089748

(D.C. Cir. Oct. 11, 2019).

       In Mazars, President Trump and several affiliated organizations and entities filed suit

against their accounting firm and the Committee on Oversight and Reform of the House of

Representatives1 (“Oversight Committee”2) challenging the validity of a subpoena that the


   1
      In addition to Mazars, the complaint originally named as defendants then-Chairman of the
Oversight Committee Elijah Cummings, as well as Peter Kenny, the Chief Investigative Counsel
of the Oversight Committee. On agreement of the parties, the Oversight Committee intervened as
a defendant and Chairman Cummings and Mr. Kenny were dismissed.
   2
    To avoid confusion, Defendants refer to the Committee in Mazars as the “Oversight
Committee” and refer to the Plaintiff in this case as “Plaintiff” or the “Committee.”

                                                 1
         Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 2 of 10



Oversight Committee issued to Mazars for several categories of the plaintiffs’ financial records.

See 2019 WL 5089748, at *3. On October 11, a divided D.C. Circuit panel affirmed the district

court’s grant of summary judgment to the Oversight Committee, concluding that the subpoena was

valid. Id. at *1.

        The decision in Mazars focused solely on the merits of whether the Oversight Committee’s

subpoena to Mazars is valid and enforceable, 2019 WL 5089748, at *20-66, and is not directly

relevant to Defendants’ pending motion to dismiss, ECF No. 44 (“Mot.”). Defendants’ motion to

dismiss raises exclusively threshold issues unrelated to the merits—none of which were addressed

by the court in Mazars. These include (1) whether the Committee possesses Article III standing

to enforce its informational inquiries against the Executive Branch; (2) whether there is a statutory

basis for subject-matter jurisdiction over such an enforcement claim; (3) whether the parties have

exhausted the constitutionally mandated accommodation process; (4) whether the Committee has

a cause of action to enforce its subpoenas and requests under 26 U.S.C. § 6103(f); and (5) whether

the Committee may invoke the Administrative Procedure Act (“APA”), the mandamus statute, or

a non-statutory ultra vires theory. See Mot. at 13-59. The D.C. Circuit did not address any of

these issues.

        Unlike this case—in which a committee of the House has come to court to vindicate solely

an asserted “institutional injury” at the hands of the Executive Branch—Mazars is an action

brought by the President and several business entities seeking to clarify the legal obligations of

Mazars (a private business) with respect to a congressional subpoena. See Trump v. Committee on

Oversight and Reform of U.S. House of Representatives, 380 F. Supp. 3d 76, 88 (D.D.C. 2019).

Because Mazars involves a determination of the legal obligations of a private party to disclose

information pursuant to a congressional subpoena, the case involves the assertion and



                                                 2
         Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 3 of 10



“adjudication of individual rights” that is absent in the Committee’s suit here. See Mot. at 33

(making similar point about United States v. AT&T, 551 F.2d 384 (D.C. Cir. 1976)). Mazars

similarly did not involve an effort by a component of Congress to invoke the jurisdiction of the

federal courts to vindicate an abstract injury to its legislative power.

       Although Mazars does not directly involve or address the threshold issues raised by

Defendants’ motion to dismiss, the decision nevertheless provides support for Defendants’

threshold arguments. Mazars made clear that, under settled Supreme Court precedent, Congress’s

power of inquiry is “subject to several key restraints.” 2019 WL 5089784, at *7. Specifically, a

committee of Congress may compel access to information if and only if (1) the information is

sought for a legitimate legislative objective; (2) the committee “is investigating a subject on which

constitutional legislation ‘could be had’”; and (3) the information sought is “sufficiently relevant

to the [c]ommittee’s legislative inquiry.” Id. at *8 (quoting McGrain v. Daugherty, 273 U.S. 135,

177 (1927)). These conclusions support Defendants’ threshold arguments in at least three respects.

       First, Mazars undermines the Committee’s attempted assertion of informational injury to

support standing. The panel affirmed that a congressional request for information is valid only to

the extent it furthers a legitimate legislative purpose. See, e.g., 2019 WL 5089748, at *14

(“Because Congress may only investigate into those areas in which it may potentially legislate or

appropriate, a congressional committee may issue only those subpoenas that are intended to gather

information about a subject on which legislation may be had.” (cleaned up)). That principle

confirms that the Committee has no legally cognizable interest in confidential tax information for

its own sake and thus cannot rely on a theory of standing under which its injury is defined solely

in informational terms; rather, the Committee’s asserted injury is necessarily institutional in nature

and thus insufficient to establish Article III standing under Raines v. Byrd, 521 U.S. 811 (1997).



                                                  3
         Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 4 of 10



See Mot. at 20-23. The potential exception for “nullification” described in Raines does not apply

to federal legislators and is inapplicable even on its own terms. Mot. at 20-23.

       Second, Mazars emphasized that, “particularly in separation-of-powers disputes, we put

significant weight upon historical practice.” 2019 WL 5089748, at *18 (quoting Zivotofsky v.

Kerry, 135 S. Ct. 2076, 2091 (2015)). As Defendants have explained, longstanding historical

practice demonstrates that the injury the Committee asserts in this action is not one traditionally

deemed capable of redress through the judicial process. See Mot. at 15-18; Walker v. Cheney, 230

F. Supp. 2d 51, 73-74 (D.D.C. 2002) (“In the end, given that the Article I and Article II Branches

have been involved in disputes over documents for more than two hundred years, what is most

striking about the historical record is the paucity of evidence that the instant lawsuit is of the sort

traditionally amenable to, and resolved by, the judicial process.” (quoting Vt. Agency of Nat. Res.

v. United States ex rel. Stevens, 529 U.S. 765, 774 (2000))). Mazars reaffirmed the “significant

weight” that history should receive.

       Third, by affirming that a congressional request for information is not valid unless, at a

minimum, (1) it serves a legitimate legislative purpose, (2) relates to a topic on which

constitutional legislation may be had, and (3) is reasonably relevant to that purpose, the Mazars

opinion underscores why counts VI and VII of the Complaint in this case (for mandamus and non-

statutory review) fail to state a claim. As Defendants have shown, the Committee cannot make

out a claim for mandamus unless, among other requirements, Defendants’ obligation to provide

the President’s tax-return information to the Committee was “clear and indisputable,” Mot. at 57,

and it cannot make out a non-statutory review claim unless Defendants, in refusing to disclose that

information, acted “without any authority whatever,” id. at 58 (citation omitted). The majority in

Mazars engaged in more than 40 pages of analysis before determining that the subpoena to Mazars



                                                  4
          Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 5 of 10



satisfied the relevant legal requirements to be valid and enforceable. That fact alone—not to

mention the equally lengthy analysis in Judge Rao’s dissent—demonstrates that any duty to

disclose the President’s personal tax information in response to an inquiry from the Committee is

not so clear and “free from doubt” as to support a claim in mandamus. Senate Select Comm. on

Presidential Campaign Activities v. Nixon, 366 F. Supp. 51, 57 (D.D.C. 1973). Nor does the

Mazars decision itself resolve the many questions regarding the validity of the subpoenas and

section 6103(f) request at issue in this case, which have been propounded by a different committee

(Ways and Means) with a different legislative jurisdiction (revenue legislation) for an entirely

different stated purpose (the purported desire to understand the Presidential audit process), thus

necessitating an entirely different factual analysis than the one performed in Mazars. And here,

moreover, Defendants are required by statute to preserve the confidentiality of tax return

information absent a valid exception codified under section 6103. Mot. at 6-7. Thus, to fulfill

Defendants’ obligation to faithfully execute section 6103 and the Constitution in response to the

subpoenas and the section 6103(f) request, before releasing any tax return information to the

Committee, Defendants needed to address the “thorny” issues the majority and dissent collectively

spent more than 100 pages analyzing. See 2019 WL 5089748, at *8-54.3 These distinctions are

fatal to the Committee’s non-statutory review claims as well. See Mot. at 58-59.

         Notwithstanding these points, the Committee may argue that the discussion in Mazars

about whether the subpoena was properly “authorized” supports its ability to bring suit here.

Defendants anticipate that the Committee may advance two variants of such an argument, both of

which would be wrong.




   3
       The Westlaw pagination differs from the slip opinion, which is 134 pages.
                                                 5
         Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 6 of 10



       First, the Committee may contend that Mazars supports its contention that a vote of the

Bipartisan Legal Advisory Group is sufficient to authorize this lawsuit, such that a vote of the full

House was not required. To be sure, Mazars held that given the delegation of subpoena power to

the Oversight Committee in the House Rules, the full House did not need to authorize issuance of

the subpoena in that case. See Mazars, 2019 WL 5089748, at *24 (“[C]ourts lack the power to

invalidate a duly authorized congressional subpoena merely because it might have been better if

the full House had specifically authorized or issued it.” (cleaned up)). That holding is not relevant

to the pending motion to dismiss, which does not contend that the entire House needed to authorize

the issuance of the subpoena, or the section 6103(f) request, that are the subjects of this litigation.

       What Defendants and Defendant-Intervenors have instead argued is that Article III, as

interpreted by Raines v. Byrd, 521 U.S. 811 (1997), requires that, at a minimum, the House as a

whole authorize a lawsuit against the Executive Branch to enforce the subpoena. See Mot. at 26-

29; Reed v. Cty. Comm’rs of Del. Cty., Pa., 277 U.S. 376, 389 (1928) (“Authority to exert the

powers of the Senate to compel production of evidence differs widely from authority to invoke

judicial power for that purpose.”). The reasoning of Mazars with respect to authorization to issue

subpoenas (with which Defendants respectfully disagree), simply does not extend to that issue.

Indeed, notwithstanding the court’s recognition that the House has wide latitude to set the rules of

its own proceedings, 2019 WL 5089748, at *24, Mazars expressly recognized that such latitude is

not boundless: Congress cannot “adopt[] a rule that offends the Constitution.” Id. Permitting the

House to conscript the courts into a weighty inter-branch conflict absent assurances that the entire

House wants the Court to resolve such a conflict would offend the Constitution, which is

presumably why, prior to 2019, the House always held votes on specific lawsuits before filing

them. See Mot. at 28 n.16; Reply at 14 n.4, ECF No. 59. If there were any doubt, it is answered



                                                  6
         Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 7 of 10



by Walker v. Cheney, which held that a prospective delegation of authority to sue was insufficient

even where set out in a federal statute. See 230 F. Supp. 2d at 69-75. As interpreted by Raines,

the Constitution requires that, at a minimum, the House authorize litigation against the Executive

Branch; the House may no more delegate that function to a subset of its members than it may

delegate the approval of legislation. In any case, even if this requirement did not flow from Article

III, given the weighty questions presented by inter-branch litigation of this kind, it would remain

appropriate for this Court to decline to hear this lawsuit unless and until the House as a whole

confirms that it wishes the courts to confront and resolve the separation-of-powers issues raised

by such a suit. See generally Mot. at 38-44.

       Second, the Committee may argue that the majority’s rejection in Mazars of a “clear

statement rule” in the context of determining whether the subpoena was authorized by the full

House, 2019 WL 5089748, at *23, supports the Committee’s ability to invoke generally applicable

jurisdictional statutes and causes of action here, including 28 U.S.C. § 1331 and the APA. Any

such argument would be misguided. The Mazars panel considered whether the House should be

required to provide a committee with an “unequivocal” grant of authority to subpoena the personal

financial records of a sitting President before the committee may seek such records. Id. In

concluding that no such requirement is warranted, the majority reasoned that a clear-statement rule

is required where a statute, depending on how it were interpreted, might affect the constitutional

balance of powers between the elected branches. Id. But in the majority’s view, such a

requirement was unnecessary when it comes to interpreting the House rules authorizing the Mazars

subpoena, because, as the majority saw it, those rules “have no effect whatsoever on ‘the balance

of power between Congress and the President.’” Id. (emphasis in Mazars, quoting Armstrong v

Bush, 924 F.2d 282, 289 (D.C. Cir. 1991)). That is to say, the panel’s determination was that the



                                                 7
        Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 8 of 10



House rules did not affect whether Congress itself possessed the power to issue the subpoena but

merely whether that power had been delegated to the Oversight Committee and appropriately

exercised under the House rules. Id.4

       In so holding, however, the majority specifically reaffirmed that there are compelling

reasons to require a clear statement before interpreting “‘statutes [in a way] that significantly

alter[s] the balance [of power] between Congress and the President.’” 2019 WL 5089748, at *23

(emphasis added, quoting Armstrong, 924 F.2d at 289). Those considerations are clearly present

here. Interpreting generally applicable statutes like the APA and 28 U.S.C. § 1331 to permit the

type of lawsuit the Committee brings here would unquestionably discourage Congress from using

its own powers under Article I to resolve disputes with the Executive Branch over access to

information. For example, as Defendants have previously explained, such an interpretation would

reduce Congress’s incentive to engage in the constitutionally mandated accommodations process

and encourage Congress to legislate new rights for itself. See Mot. at 18 n.10, 23-26; Reply at 10-

11. That outcome would also transform the Judiciary into a referee of disputes between the

political branches. See Mot. at 23-25. It would also permit a potential end-run around the

requirements of bicameralism and presentment—the bare minimum the courts should require

before wading into direct conflicts between the political branches. Thus, the discussion in Mazars

about why a clear statement-rule was not warranted there (because the House rule authorizing the

subpoena did not affect the balance of powers) merely serves to highlight why a clear-statement




   4
      The majority also stated that to “interpret[] a congressional rule differently than would the
Congress itself” is not warranted because “‘the Rulemaking Clause reserves to each House alone’”
the power to make rules. 2019 WL 5089748, at *25 (quoting Barker v. Conroy, 921 F.3d 1118,
1130 (D.C. Cir. 2019)). That rationale, of course, does not apply to statutes, which are subject to
bicameralism and presentment, and thus must speak clearly if intended to dramatically depart from
historical practice and significantly alter the relationship between the political branches.
                                                8
        Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 9 of 10



rule is appropriate in the context of the statutory jurisdiction and cause-of-action questions

presented here, which carry far-reaching implications for the separation of powers among the

branches.

                                      CONCLUSION

       Defendants and Defendant-Intervenors respectfully request that the Court grant their

motion to dismiss.

       Dated: October 22, 2019                    Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  JAMES M. BURNHAM
                                                  Deputy Assistant Attorney General

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director

                                                  JAMES J. GILLIGAN
                                                  Special Litigation Counsel

                                                      /s/ Andrew M. Bernie
                                                  STEVEN A. MYERS (NY Bar No. 4823043)
                                                  SERENA M. ORLOFF (CA Bar No. 260888)
                                                  ANDREW BERNIE (DC Bar No. 995376)
                                                  Trial Attorneys
                                                  United States Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  P.O. Box 883
                                                  Washington, D.C. 20044
                                                  Tel: (202) 616-8488
                                                  Fax: (202) 305-8470
                                                  Email: Andrew.M.Bernie@usdoj.gov

                                                  Attorneys for Defendants



                                                   /s/ William S. Consovoy
                                                  William S. Consovoy (D.C. Bar #493423)
                                                  Cameron T. Norris
                                                  Steven C. Begakis

                                              9
Case 1:19-cv-01974-TNM Document 63 Filed 10/22/19 Page 10 of 10



                                   CONSOVOY MCCARTHY PLLC
                                   1600 Wilson Boulevard, Suite 700
                                   Arlington, VA 22209
                                   (703) 243-9423
                                   will@consovoymccarthy.com

                                   Patrick Strawbridge
                                   CONSOVOY MCCARTHY PLLC
                                   Ten Post Office Square, 8th Floor
                                   South PMB #706
                                   Boston, Massachusetts 02109
                                   (617) 227-0548

                                   Attorneys for Defendant-Intervenors




                              10
